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                                        STATE OF NEW YORK
                                  OFFICE OF THE ATTORNEY GENERAL

LETITIA JAMES                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                      LITIGATION BUREAU


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                                                                              June 29, 2023

  VIA ECF
  The Honorable Kenneth M. Karas
  United States District Judge
  United States Courthouse
  300 Quarropas Street
  White Plains, New York 10601-4150

                 Re: Lane, et al., v. Nigrelli, et al., 22 Civ. 10989 (KMK)

  Dear Judge Karas:

           This Office represents Steven Nigrelli, sued in his official capacity as Acting
  Superintendent of the New York State Police (“Superintendent”). We write to bring to the Court’s
  attention the Second Circuit’s recent decision in Vitagliano v. County of Westchester, No. 23-30,
  ---F.4th---, 2023 WL 4095164 (2d Cir. June 21, 2023), which was issued the day after the
  Superintendent filed the reply in support of his motion to dismiss the Complaint. Vitagliano held
  that it was not necessary for the plaintiff to be subjected to a “past enforcement action or an overt
  threat of prosecution directed at the plaintiff” to establish an injury in fact, and distinguished its
  earlier decision in Adam v. Barr, 792 F. App’x 20 (2d. Cir. 2019). Id. at *7.

          To the extent the Superintendent’s motion cited Adam in arguing that Plaintiffs were
  required to allege a particularized threat of criminal enforcement to establish standing, the
  Superintendent withdraws that argument. However, Plaintiffs’ lack of licensure at the time the
  Complaint was filed remains a separate and complete bar to standing in this case, a conclusion that
  is unaffected by the Vitagliano decision. The Superintendent thanks the Court for its attention to
  this matter.

                                                                   Respectfully submitted,

                                                                   /s/
                                                                   Suzanna Publicker Mettham
                                                                   Brenda Cooke

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cc:   Counsel for all Parties via ECF




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